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                   12   MANISH LACHWANI
                   13

                   14                                 UNITED STATES DISTRICT COURT
                   15                             NORTHERN DISTRICT OF CALIFORNIA
                   16                                    SAN FRANCISCO DIVISION
                   17

                   18   UNITED STATES OF AMERICA,                     Case No. 3:21-CR-00353 CRB
                   19                    Plaintiff,                  STIPULATION & [PROPOSED] ORDER
                                                                     REGARDING NON-PARTY HEADSPIN, INC.’S
                   20          v.                                    RESPONSE TO DEFENDANT’S SUBPOENA
                                                                     PURSUANT TO RULE 17(C)
                   21   MANISH LACHWANI,
                                                                     Judge:                 Charles R. Breyer
                   22                    Defendant.                  Trial Date:            None Set
                                                                     Date Action Filed:     August 20, 2021
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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                   STIPULATION & [PROPOSED] ORDER
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                    1          Non-party HeadSpin, Inc. (“HeadSpin”) and defendant Manish Lachwani (“Defendant”),
                    2   by and through counsel, hereby stipulate to the following:
                    3          WHEREAS, on July 1, 2022, this Court entered an Order Issuing Subpoena Duces Tecum
                    4   Pursuant to Rule 17(c) of the Federal Rules of Criminal Procedure ordering HeadSpin to produce
                    5   any documents responsive to the subpoena to the Court for in camera inspection within 30 days of
                    6   service of the subpoena (the “July 1 Order”);
                    7          WHEREAS, on July 5, 2022, Defendant served the subpoena (“Subpoena”) on HeadSpin;
                    8          WHEREAS, the Subpoena seeks documents relating to internal investigation materials that
                    9   HeadSpin contends are protected from production by the attorney-client privilege and/or work
                   10   product doctrine;
                   11          WHEREAS, HeadSpin notified Defendant that it intended to move to quash the Subpoena
                   12   on the grounds that the Subpoena failed to comply with Rule 17(c) and sought attorney-client
                   13   privilege and work product protected documents; and
                   14          WHEREAS, HeadSpin and Defendant subsequently met and conferred and have agreed to
                   15   a production of documents to counsel for Defendant (the “Production”) on terms set forth in a
                   16   written agreement between the parties.
                   17          NOW, THEREFORE, HeadSpin and Defendant hereby stipulate and agree as follows:
                   18          1.      That this Production will, if made in full, constitute a complete satisfaction of the
                   19   Subpoena, and HeadSpin need not otherwise comply with the July 1 Order; and
                   20          2.      Pursuant to Federal Rule of Evidence 502(d), nothing related to the Production
                   21   constitutes a waiver of any privileges that HeadSpin or its counsel may hold, including, but not
                   22   limited to attorney-client privilege or privileges pursuant to attorney work product doctrine.
                   23

                   24   Dated: September 7, 2022                        FENWICK & WEST LLP
                   25
                                                                        By: /s/ Jay L. Pomerantz
                   26                                                       Jay L. Pomerantz
                   27                                                       Attorneys for Non-Party HeadSpin, Inc.
                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                            STIPULATION & [PROPOSED] ORDER
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                    1   Dated: September 7, 2022                                   COOLEY LLP
                    2

                    3                                                              By: /s/ John Hemann
                                                                                       John Hemann
                    4                                                                  Elizabeth H. Skey
                                                                                       Max A. Bernstein
                    5                                                                  Eleanor W. Barczak
                    6                                                              Attorneys for Defendant
                                                                                   MANISH LACHWANI
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                    9                                      ATTESTATION OF SIGNATURES

                   10               Pursuant to Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document
                   11   has been obtained from each of the other signatories.
                   12

                   13   Dated: September 7, 2022                                        /s/ John Hemann
                                                                                         John Hemann
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                   15
                                                                  [PROPOSED] ORDER
                   16

                   17               PURSUANT TO STIPULATION, IT IS SO ORDERED.

                   18

                   19    Dated:
                                                                                   Hon. Charles R. Breyer
                   20                                                              United States District Court Judge
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COOLEY LLP
ATTORNEYS AT LAW
                                                                                                  STIPULATION & [PROPOSED] ORDER
 SAN FRANCISCO                                                                 3                               3:21-CR-00353 CRB
